           Case 21-33219-KLP         Doc 24 Filed 01/28/22 Entered 01/28/22 12:48:03                        Desc
                                    Checksheet - Reaffirmation Page 1 of 1
                                         United States Bankruptcy Court
                                               Eastern District of Virginia
                                                   Richmond Division
TO:                                                      In re: Stacey Michelle Cosby
James E. Kane
Kane & Papa, PC                                          Case Number 21−33219−KLP
1313 East Cary Street                                    Chapter 7
P.O. Box 508
Richmond, VA 23218−0508

YOU ARE ADVISED AS FOLLOWS CONCERNING PAPERS FILED BY YOU WHICH CONTAIN
DEFICIENCIES:

22 − Reaffirmation Cover Sheet and Reaffirmation Agreement with Santander Consumer USA Inc. filed by James E.
Kane of Kane & Papa, PC on behalf of Stacey Michelle Cosby. (Kane, James)

REAFFIRMATION [LBR 4008−1]:

        Not accompanied by "Request for Waiver to File by Flash Drive or Conventionally."* Parties represented by
        attorneys and governmental units and institutional entities must file via the Internet or complete and file a
        Request for Waiver in order to file by flash drive or conventionally. Future noncompliant filings will be
        forwarded to the Court for determination/appropriate action.

        Not in substantial compliance or on approved reaffirmation agreement (Official Form 2400A/B ALT) and
        reaffirmation agreement coversheet (Official Form 427)

  X     Not signed by debtor, the debtor's attorney, if any, and/or the creditor.

        Reaffirmation contains deficiencies in part(s) , if not corrected within 14 days from the date of this notice the
        matter will be referred to the Court for further consideration/determination and a hearing may be set.


*A copy of the above−referenced form may be obtained from the Court's web site at www.vaeb.uscourts.gov
Date: January 28, 2022                            CLERK, UNITED STATES BANKRUPTCY COURT

                                                         By /s/ Michelle Stehle, Deputy Clerk
[igreaffvNov19.jsp]                                      Direct Dial Telephone No. 804−916−2422
